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               Deputy Clerk                        Court Reporter                               Assistant U.S. Attorney



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